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                                                                   United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                      November 29, 2021
                    IN THE UNITED STATES DISTRICT COURT               Nathan Ochsner, Clerk
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION



ELIJAH BURKE SWALLOW,                 §
TDCJ #2100152,                        §
                                      §
             Plaintiff,               §
                                      §
v.                                    §   CIVIL ACTION NO. H-20-2232
                                      §
SHERIFF ED GONZALEZ, et al.,          §
                                      §
             Defendants.              §



                        MEMORANDUM OPINION AND ORDER



       State inmate Elijah Burke Swallow           ( TDCJ #2100152,     former

Harris County SPN #02756621) has filed a Prisoner's Civil Rights

Complaint under 42 U.S.C. § 1983 ("Complaint") (Docket Entry No. 1),

alleging that he was assaulted by another inmate while he was

confined at the Harris County Jail in October of 2018.                He sues

Sheriff Ed Gonzalez and a "John Doe" detention officer.                 At the

court's     request,    Swallow   has supplemented the      Complaint with

Plaintiff's More Definite Statement           ("Plaintiff's MOS") (Docket

Entry No. 12).         To further supplement the pleadings, the Harris

County Attorney's Office has provided a report with administrative

records     under    Martinez ·v.   Aaron,   570    F.2d   317   (10th      Cir.

1987) ("Martinez Report") (Docket Entry No. 19).

       Because Swallow is an inmate who proceeds in forma pauperis,

the court is required to scrutinize the claims and dismiss the
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Complaint, in whole or in part, if it determines that the Complaint

"is frivolous, malicious,      or fails to state a claim upon which

    ef may be granted" or "seeks monetary relief from a defendant

who is immune from such relief."      28 U.S.C. § 1915A{b); see also 28

U.S.C. § 1915{e) (2) (B). After considering all of the pleadings and

the applicable law,      the court concludes that this case must be

dismissed for the reasons explained below.


                             I.    Background

     Swallow is currently incarcerated in the Texas Department of

Criminal Justice    ("TDCJ")      as the result of a conviction for

aggravated robbery with a deadly weapon that was entered against

him on October 25, 2019, in Harris County Case No. 144978901010. 1

The incident that forms the basis of Swallow's Complaint occurred

on October 19,   2018,    while Swallow was confined in the Harris

County Jail as a pretrial detainee. 2           The incident,       which


     1
      See Texas Department of Criminal Justice - Offender Details,
available at httgs: //offender.tdcj .texas.gov (last visited Nov. 26,
2021). Records from TDCJ reflect that Swallow has several other
previous convictions for robbery {two convictions from Orange
County and Jefferson County in 2014), assault on a public servant
 (Navarro County in 2008), harassment (three convictions from
Navarro County in 2008), and failure to comply with sex offender
registration requirements (two convictions from Jefferson County in
2010).      id.
     2
      Complaint, Docket Entry No. 1, p. 4. Swallow states that he
is unable to provide the exact date for the " fe Changing Event"
that forms the basis for his Complaint.      See Plaintiff's MOS,
Docket Entry No. 12, p. 5. Records provided by the Harris County
Attorney's Office reflect that the incident occurred on October 19,
2018. See Martinez Report, Exhibit A, Significant Event Bulletin,
Case #2018-10-19-12184, Docket Entry No. 19-1, p. 10.
                                    -2-
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Swallow        claims   that   he    was    assaulted by     another       inmate,   is

described brie            below.

     Swallow noticed that another inmate in his cellblock was

"looking" at him while Swallow was out of his cell, helping to

clean the dormitory. 3            Swallow told the inmate, who Swallow does

not name, to "stay away" from him because he was "not interest[ed]

   him." 4      A week later, Swallow claims that the inmate entered                  s

cell after Swallow had returned from the shower. 5                  The other inmate

then began to masturbate while fondling Swallow' s anus. 6                           The

inmate, who left before doing anything else, threatened to                             1

Swallow if he reported the assault or if "anyone found out." 7

     On the        same    morning        that   the   assault   occurred,     Swallow

reported the incident to a detention officer who is identified as

"Defendant John Doe." 8            The officer told Swallow to return to his

cell and lock the door while he completed a report about assault. 9

Swallow        contends    that     the    officer     "neglected    his     duty"   to

immediately report the incident in compliance with a Harris County


     3
         Complaint, Docket Entry No. 1, p. 7.
     4
         Id.


     6
         Id. at 7-8.
     7
         Id. at 8.
     8
         Id.
     9
         Id.

                                             -3-
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Sheriff's Office policy that was designed to implement the Prison

Rape Elimination Act ("PREA") and that this failure to act exposed

Swallow to risk of further assault by the inmate who fondled him.10

With assistance from other inmates, Swallow then submitted an "I-

60" to alert officers of the abuse. 11 Swallow was removed from the

dorm during the next shift "by protocol of (PREA) regulation."12

     Swallow was transferred from the Harris County Jail to TDCJ

after he was convicted in 2019.13 In a Complaint that is dated June

22, 2020, Swallow now sues Harris County Sheriff Ed Gonzalez for

failing to protect him           October of 2018 "from being sexual[ly]

abuse[d]        by another offender."14     Swallow also sues the officer

identi           as Defendant John Doe for      ling to comply with Harris

County policy by promptly reporting the incident immediately after

Swallow disclosed the assault. 15 Invoking 42 U.S.C. § 1983, Swallow

seeks compensatory and punitive damages from both defendants. 16




     10
             Id. at 8 9.


     i2Id.

      Plaintiff' s MDS,
     13
                               Docket Entry No. 12,    p. 2,   response to
Question 1.
     1
         4   Complaint, Docket Entry No. 1, p. 3.


                 at 4.

                                      -4-
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                         II.     Standard of Review

        Federal district courts are required by the Prison Litigation

Reform Act ("PLRA") to screen prisoner complaints to identi                   any

cognizable    claims    or     dismiss    the   case   if   it   is   frivolous,

malicious,    or fails to state a claim upon which relief may be

granted. See Crawford-El v. Britton, 118 S. Ct. 1584, 1596 (1998)

(summarizing     provisions      found          the    PLRA,     including    the

requirement that district courts screen prisoners' complaints and

summarily dismiss frivolous, malicious, or meritless actions);.§.§..§.

also Coleman     v.    Tollefson,    135 S.      Ct.   1759,     1761-62   (2015)

(discussing the screening provision found in the federal in forma

pauperis statute, 28 U.S.C. § 1915(e) (2), and reforms enacted by

the PLRA that were "'designed to filter out the bad claims [filed

by prisoners] and facilitate consideration of the good'") (quoting

Jones v. Bock, 127 S. Ct. 910, 914 (2007)) (alteration in original).

        A complaint is frivolous if              "' lacks an arguable bas

either in law or in fact.'"         Denton v. Hernandez, 112 S. Ct. 1728,

1733 (1992) (quoting Neitzke v. Williams, 109 S. Ct. 1827, 1831

(1989)).     "A complaint lacks an arguable basis in law if it is

based on an indisputably meritless legal theory, such as if the

complaint al           the violation of a legal interest which clearly

does not exist." Harper v. Showers, 174 F.3d 716, 718 (5th Cir.

1999)     (citations    and    internal    quotation    marks     omitted).    "A

complaint lacks an arguable basis in fact if, after providing the

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plaintiff       the   opportunity       to   present   additional    facts      when

necessary, the facts alleged are clearly baseless."                       Talib v.

�, 138 F.3d 211, 213 (5th Cir. 1998) (citation omitted).

       To avoid dismissal for failure to state a claim, the factual

allegations in the complaint "must be enough to raise a right to

relief above the speculative level[.]"                 B        lantic C          V


Twombly, 127 S. Ct. 1955, 1965 (2007) (citation omitted).                    If the

complaint has not set forth "enough facts to state a claim to

relief that is plausible on its face," it must be dismissed.                     Id.

at 1974.        In making this determination a reviewing court must

"accept all well-pled facts as true, construing all reasonable

inferences in the complaint in the light most favorable to the

plaintiff." Heinze v. Tesco Corp., 971 F.3d 475, 479                   (5th Cir.

2020). But it need not accept as true any "conclusory allegations,

unwarranted       factual    inferences,       or   legal    conclusions."       Id.

{internal quotation marks and citations omitted); see also White v.

U.S. Corrections, LLC, 996 F.3d 302, 307 (5th Cir. 2021) (same).

In other words, "[t]hreadbare recitals of the elements of a cause

of    action,    supported    by    mere     conclusory     statements,    do    not

suffice."     Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing

�, 127 S. Ct. at 1965).

       The plaintiff represents himself in this case.                Courts are

required    to    give   a pro     se    litigant's    contentions    a    liberal

construction. See Erickson v. Pardus, 127 S. Ct. 2197, 2200 (2007)


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(per curiam)        (citation omitted); see also Haines v. Kerner, 92

S. Ct. 594, 595-96 (1972) (per curiam) (noting that allegations in

a pro    .§.Q   complaint, however inartfully pleaded, are held to less

stringent standards than formal pleadings drafted by lawyers) .

Even under this lenient standard,                   pro se li            gants are still

required to "properly plead sufficient facts that, when liberally

construed,        state a plausible claim to relief [.]"                     E.E.O.C. v.

Simbaki,        Ltd.,   767   F.3d 475,       484    (5th      r.    2014)       (citations

omitted).


                                   III.     Discussion

A.      Supervisory Liabi.lity

        Swallow sues Sheriff Gonzalez               his capacity as a supervisory

official in charge of the Harris County Sheriff's Office, which

operates the Harris County Jail. 17 A public official cannot be held

vicariously liable under 42 U.S.C. § 1983 for the conduct of those

under      his     supervision.       See     Alderson        v.    Concordia        Parish

Correctional Facility, 848 F.3d 415, 419 (5th Cir. 2017) (citing

Mouille v. City of Live Oak, 977 F.2d 924, 929 (5th Cir. 1992)).

Supervisory        officials    are       accountable       for their       own    acts of

deliberate        indifference      and     for    implementing          unconstitutional

policies that           causally   res        in    injury.        Id.      To    establish

supervisory liability under § 1983 a plaintiff must allege either


     17 Complaint, Docket Entry No. 1, p. 3; Plaintiff's MDS, Docket
Entry No. 12, pp. 13-14, response to Question 9.
                                            -7-
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that the official personally participated in acts that caused a

constitutional deprivation or implemented unconstitutional policies

causally re             to    s inj      s. See Alderson, 848 F.3d at 421

(citing Mouille, 977 F.2d at 929).

       Swallow           not allege facts showing that           riff Gonzalez

was    persona          involved   in    the    incident   referenced          his

pleadings.         Likewise, as discussed further below, Swallow does not

allege facts establishing that a constitutional violation occurred

or that he is entitled to recover damages due to the existence of

a    constitutionally        deficient    policy    attributable   to    Sheriff

Gonzalez. See Thompkins v. Belt, 828 F.2d 298, 303-04 (5th

1987).       Accordingly, the Compla          against Sheriff Gonzalez must be

dismissed for failure to state a claim.


B.     Fai1ure to Protect from Harm

       Swallow contends that Sheriff Gonzalez is liable for failing

to protect him from sexual abuse by another inmate.18                   Pret     1

detainees have a constitutional right under the Due Process Clause

to protection from harm during                r confinement.   See Brumfield v.

Hollins, 551 F.3d 322, 327 (5th Cir. 2008) (citing Hare v. City of

Corinth, 74 F.3d 633, 650 (5th Cir. 1996) (en bane)).               The duty to

protect pretrial detainees from harm under the Due Process Clause

is the same as the one afforded to convicted prisoners under the


       18
            Comp      , Docket Entry No. 1, p. 3.
                                         8-
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Eighth Amendment.         Hare, 74 F.3d at 650 ("[T]he State owes the

same duty under the Due Process Clause and the Eighth Amendment to

provide both pretrial detainees and convicted inmates with basic

human needs, including .       . protection from harm, during their

confinement.").      To state a claim in this context a plaintiff is

required to establish that the defendant "'acted or failed to act

with deliberate indifference to [his] needs.'"       Shepherd v. Dallas

County, 591 F.3d 445, 452 (5th Cir. 2009) (quoting            74 F.3d at

648); see         Alderson, 848 F.3d at 41    0 (explaining that in an

action based on "episodic acts or omissions," a pretrial detainee

must show "subjective deliberate         fference by the defendants")

(citation omitted).

        The deliberate indifference standard is an "extremely high"

one to meet.      Domino v. Texas Dep't of Criminal Justice, 239 F.3d

752, 756 (5th Cir. 2001).       Mere negligent failure to protect an

          from attack does not justify liability under 42 U.S.C.

§ 1983.     See Neals v. Norwood, 59 F.3d 530, 533 (5th Cir. 19           ).

An official acts with deliberate indifference "only if he knows

that the inmates face a substantial risk of serious harm and

disregards that       sk by     ling to take reasonable measures to

abate       "   Farmer v. Brennan, 114 S. Ct. 1970, 1984 (1994).

        Swallow, who has described the assault with detail, does not

allege facts showing that Sheriff Gonzalez or any other official at

the Jail knew that he faced a substantial risk of serious harm from


                                   9-
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the inmate who assaulted him on the day in question. 19              Swallow

acknowledges that the inmate made no threats and that he did not

report any concerns before the assault occurred.20 Swallow does not

otherwise allege that Sheriff Gonzalez or any other official was

subjectively aware of but disregarded a serious risk to his safety

before the assault occurred.           Under these circumstances Swallow

does not demonstrate that Sheriff Gonzalez or other officials at

the Jail failed to protect him from harm with the requisite

deliberate indifference.        See Le gate v. Livingston, 822 F.3d 207,

209-10 (5th Cir. 2016); Coleman v. Sweetin, 745 F.3d 756, 763 (5th

Cir. 2014); Pierce v. Collier, 843 F. App'x 619, 620              (5th Cir.

April 9, 2021)         (per curiam).    Therefore,   Swallow has failed to

state a claim on which relief may be granted against Sheriff

Gonzalez.


C.      Fai1ure to Comp1y with Po1icy

        Swallow contends that the John Doe Defendant referenced in his

Complaint is liable for failing to comply with a policy in place at

the Harris County Jail, which requires detention officers to report

instances of sexual assault or abuse. 21       The Fifth Circuit has made



      Complaint, Docket Entry No. 1, pp. 7-8; Plaintiff's MOS,
        19

Docket Entry No. 12, pp. 6-7, response to Question 4(d).
      Plaintiff's MOS, Docket Entry No. 12, pp. 9-10, response to
        20

Questions 5 and 6.
        21
             Complaint, Docket Entry No. 1, pp. 8-9.
                                       -10-
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it clear, however, that an of           cer's mere failure to follow prison

policy or regulations does not establish a constitutional violation

for purposes of liability under 42 U.S.C. § 1983.           See Williams v.

Banks, 956 F.3d 808, 812 & n. 11 (5th Cir. 2020) ("Our case law

clear . . . that a prison official's failure to follow the prison's

own policies, procedures[,] or regulations does not constitute a

violation       of     [the    Eighth    or    Fourteenth   Amendment],   if

constitutional minima are nevertheless met.").

      Although Swallow appears to fault the John Doe Defendant for

delay, he acknowledges that the assault was reported the same day

that it occurred and that he was removed from the dorm by the next

shift.22     He was then treated according to the PREA protocol at the

Jail. 23

      Records provided by           the Harris County Attorney's Of

confirm that an investigation commenced on October 19, 2018, when

officers were informed that Swallow had reported a sexual assault

by another inmate.24          According to those records, Swallow reported

that he was sexually assaulted by an inmate identified as Bobby Joe

"Fergunsn [sic]," also known as Bobby Joe Ferguson ("Ferguson") (SPN



      22
           Id. at 9.
           d.
      24 Martinez
               Report, Exhibit A, Significant Event Bulletin, Case
#2018-10-19-12184, Docket Entry No. 19-1, p. 10; Detention Command
- Inmate Offense Report 2018 58986 701, Docket Entry No. 19-1, p.
11.

                                        -11-
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#00302152) . 25     Swallow was treated       the Jail medical clinic that

same day, where he denied any "penetration or physical trauma," but

alleged that he was sexually assaulted that morning when another

inmate (Ferguson) molested him. 26           Swallow, who had a history of

mental illness, was transferred to a local emergency room for a

phys           and mental evaluation. 27

       The available records show that the assault was reported by

officers at the Jail and that Swallow was relocated after being

examined by medical providers the same day the assault occurred. 28

Swallow acknowledges that he was removed from the dormitory where

his assailant was confined on the same day. 29           Swallow does not

allege facts showing that he suffered any further harm from his

attacker.       Under these circumstances, Swallow does not demonstrate

that Defendant John Doe acted or              led to act in a manner that

violated the Constitution.         Therefore, Swallow's claim against the

John Doe Defendant will be           smissed.     Because Swallow has been



       zsid.
       26
      Martinez Report, Exhibit C, Harris County Sheriff's Office
Health Services, Triage Notes, Docket Entry No. 19-3, pp. 96, 97.
                at 99.

       Id. at 96-97, 99; Martinez Report, Exhibit A,
       28
                                                             evance
Resolution Form, Inmate Grievance Board, Grievance #209828, Docket
      No. 19-1, p. 1; Significant Event Bulletin, Case #2018-10-19-
12184, Docket Entry No. 19-1, p. 10; Detention Command - Inmate
Offense Report 2018-58986 701, Docket Entry No. 19-1, pp. 11 14.
       29
            Complaint, Docket Entry No. 1, p. 9.
                                      -12-
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afforded an opportunity to supplement his pleadings and has not

established a valid claim,      this action will be dismissed with

prejudice.30


                      III.   Conclusion and Order

        Based on the foregoing, the court ORDERS as follows:

        1.   The Complaint for Violation of Civil Rights under
             42 U.S. C. § 1983     ed by Elijah Burke Swallow
             (Docket Entry No. 1) is DISMISSED with prejudice.

        2.   The dismissal will count as a strike for purposes
             of 28 U.S.C. § 1915(g).

        3.   Swallow's Motion for an Order Compelling Disclosure
             or Discovery (Docket Entry No. 21) is DENIED.

        The Clerk is directed to provide a copy of this Memorandum

Opinion and Order to the plaintiff.      The Clerk will also provide a

copy to the Three Strikes List at Three_Strikes@txs.uscourts.gov.

        SIGNED at Houston, Texas, on this the 29th day of November,

2021.




                                 SENIOR UNITED STATES DISTRICT JUDGE




      Swallow has filed a Motion for an Order Compelling Disclosure
        30

or Discovery (Docket Entry No. 21). The Motion does not include a
certificate of service showing that Swallow provided a copy to the
Harris County Attorney's Office. Therefore, Swallow's Motion for
an Order Compelling Disclosure or Discovery {Docket Entry No. 21)
will be denied.
                                  -13-
